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                                              UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF NEW YORK




              IN RE SMERLING LITIGATION,                              21 Civ. 2552 (JPC)




           DECLARATION OF MARIANNE CURTIS IN SUPPORT OF THE UNOPPOSED MOTION
                 TO APPROVE SETTLEMENT AGREEMENT AND MUTUAL RELEASE

                      MARIANNE CURTIS, pursuant to 28 U.S.C. § 1746, declares as follows:

                      1.       I am a partner of the law firm of Berger Singerman LLP, counsel to James S.

             Feltman who is the receiver (the “Receiver”) appointed pursuant to that certain Order Appointing

             Receiver, dated May 14, 2021 (Case No. 1:21-cv-05766-JPC, ECF No. 28) (the “Receivership

             Order”) and that certain Order Granting Joint Motion to (I) Consolidate SVB Action and Citizens

             Bank Action Into a Single Action, (II) Appoint James Feltman as Receiver in Consolidated Action,

             and (III) Grant Unopposed Receivership Expansion Motion, dated July 19, 2021 (Case No. 1:21-

             cv-02552-JPC, ECF No. 98) (the “Receivership Consolidation/Expansion Order” and together

             with the Receivership Order, collectively, the “Orders”). I respectfully submit this Declaration in

             support of the unopposed motion (the “Unopposed Motion”) of the Receiver requesting the Court

             to enter an order, substantially in the form attached hereto as Exhibit “1” (i) approving the terms

             of the Settlement Agreement and Mutual Release between the Receiver and World Class Auto

             Repair, LLC (“WCA”) and Jeffrey A. Kranitz (“Kranitz”) (collectively, the “Debtors”) attached

             hereto as Exhibit “2”; and (ii) any further relief the Court deems just and proper.




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                       2.      The Receiver is proceeding by motion, rather than filing an initial pre-motion letter,

             because of the time sensitivity of the relief sought and given that: (i) Citizens Bank, N.A. (“Citizens

             Bank”) and Silicon Valley Bank (“SVB”), which are the plaintiffs in this consolidated action (the

             “Consolidated Action”)1, support the relief requested in the Unopposed Motion; (ii) defendant JES

             Global Capital GP III, LLC has failed to appear in either the SVB Action (defined herein) or the

             Consolidated Action; and (iii) defendants JES Global Capital II, L.P. and JES Global Capital GP

             II, LLC have failed to appear in the Citizens Bank Action (defined herein) or the Consolidated

             Action.

                       Background: The SVB Action and the Citizens Bank Action

                       3.      SVB instituted the SVB Action in March 2021, alleging in its Complaint that Mr.

             Smerling (“Defendant Smerling”) and JES Global Capital GP III, LLC (together, the “New York

             Defendants”) had misappropriated nearly $95 million from SVB (of which approximately $80

             million remains outstanding) through fraud and deceit. (See Consolidated Action, ECF No. 1.)

                       4.      SVB thereafter obtained in the SVB Action orders of prejudgment attachment and

             preliminary injunctions with respect to assets of the New York Defendants. (See Consolidated

             Action, ECF Nos. 19, 26, 31, 37, 67, and 80.)

                       5.      Following SVB’s filing of its Complaint in the SVB Action, Citizens Bank initiated

             the Citizens Bank Action in the Florida Court and filed a similar complaint on May 5, 2021, against

             Defendant Smerling, JES Global Capital II, L.P., and JES Global Capital GP II, LLC (collectively,


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                      The Receivership Consolidation/Expansion Order, among other things, consolidated the following two
             separate actions into this Consolidated Action: (i) Citizens Bank, N.A. v. JES Global Capital II, L.P., JES Global
             Capital GP II, LLC and Elliot S. Smerling, original case no. 21 Civ. 80815 (S.D. Fla.) initially filed in the District
             Court for the Southern District of Florida (the “Florida Court”) and transferred to this Court by order of the Florida
             Court dated July 2, 2021 (post-transfer S.D.N.Y. case no. 1:21-cv-05766-JPC, ECF No. 66 (the “Citizens Bank
             Action”)); and (ii) Silicon Valley Bank v. JES Global Capital GP III, LLC; and Elliot S. Smerling, case no 1:21-cv-
             02552-JPC (S.D.N.Y) (the “SVB Action”) filed in this Court. As the case number for the SVB Action and the
             Consolidated Action are the same, this Declaration refers to the “Consolidated Action” when referencing docket
             numbers for filings related to either the SVB Action or the Consolidated Action.

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             the “Florida Defendants”), seeking to recover approximately $54 million that Citizens Bank

             alleged the Florida Defendants improperly misappropriated from that bank. (See Citizens Bank

             Action, ECF No. 1.)

                      6.      SVB in the SVB Action and Citizens Bank in the Citizens Bank Action obtained

             final judgments on consent against Defendant Smerling in the amounts of approximately $80

             million and $56 million, respectively. (See Consolidated Action, ECF No. 83; Citizens Bank

             Action, ECF No. 61.)

                      7.      Citizens Bank in the Citizens Bank Action also obtained a default judgment against

             the other Florida Defendants given their failure to appear in that action. (See Citizens Bank Action,

             ECF No. 58.) Similarly, SVB in the SVB Action obtained a default Judgment against JES Global

             Capital GP III, LLC given its failure to appear in that action. (See Consolidated Action, ECF No.

             150.)

                      Defendant Smerling’s Sentence in the Criminal Case

                      8.      On May 13, 2022, this Court (Cote, J.) sentenced Defendant Smerling to 97 months

             in jail to be followed by three years’ probation. (See Amended Judgment in a Criminal Case dated

             June 1, 2022, Case No. S1 21-CR-00317-01 (DLC), ECF No. 55 (the “Amended Judgment”).)

                      9.      The Amended Judgment contains other provisions, including but not limited to, the

             requirement that Defendant Smerling “cooperate with the Receiver to assist the Receiver to

             maximize the recovery of stolen funds”. (See Amended Judgment at p. 5.)

                      10.     On June 1, 2022, this Court (Cote, J.) entered an Order of Restitution requiring

             Defendant Smerling to pay restitution in the combined amount of $136,172,410.29, comprised of

             restitution to (i) SVB in the amount of $82,172,410.29 and (ii) Citizens Bank in an amount totaling

             $54,000,000.00. (See Order of Restitution, Case No. S1 21-CR-00317-01 (DLC), ECF No. 54 (the

             “Order of Restitution”).)
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                      The Receiver and the Receivership

                      11.     On May 14, 2021, the Florida Court entered the Receivership Order appointing Mr.

             Feltman as the Receiver for the estates of the Florida Defendants. (See Citizens Bank Action, ECF

             No. 28.) Mr. Feltman and his retained professionals have since been researching, locating and

             collecting assets associated with Defendant Smerling and various entities affiliated with him. (See

             Declaration of James Feltman with Respect to Original Inventory, Citizens Bank Action, ECF No.

             65; Receiver’s Quarterly Reports, Consolidation Action, ECF Nos. 130, 157, 185.)

                      12.     On July 19, 2021, this Court entered the Receivership Consolidation/Expansion

             Order: (i) appointing Mr. Feltman as the Receiver in the Consolidated Action, including as the

             receiver for the estates of the New York Defendants pursuant to the Receivership Order which was

             adopted as an order of this Court in the Consolidated Action, as modified by the Receivership

             Consolidation/Expansion Order; (ii) expanding the receivership to all of the assets that each of the

             61 entities (collectively, the “Additional Entities”) listed on Exhibit “A” of the Receivership

             Consolidation/Expansion Order owns, possesses, has a beneficial interest in, or controls directly

             or indirectly, as “Receivership Property” under the Receivership Order (collectively, the “Smerling

             Assets”); and (iii) appointing Mr. Feltman as the Receiver over the Smerling Assets. (See

             Consolidated Action, ECF No. 98.)

                      The Receiver Has Complied with 28 U.S.C. § 754

                      13.     On July 22, 2021 (i.e., three days after this Court entered the Receivership

             Consolidation/Expansion Order), the Receiver properly commenced a 28 U.S.C. § 754 proceeding

             in the United States District Court for the Southern District of Florida. See Florida Court, Case

             No. 9:21-mc-81274-AMC (the “28 U.S.C. § 754 Proceeding”).




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                      14.     In compliance with the requirements of 28 U.S.C. § 754, the Receiver initiated the

             28 U.S.C. § 754 Proceeding by filing the following documents: (i) the Receivership Order; (ii) the

             Receivership Consolidation/Expansion Order; (iii) the complaint filed by SVB in the SVB Action;

             and (iv) the complaint filed by Citizens Bank in the Citizens Bank Action. See Docket for 28

             U.S.C. § 754 Proceeding at ECF No. 1.

                      Broad Authority Has Been Granted to the Receiver

                      15.     Pursuant to the Receivership Order, the Receiver has been granted broad and

             extensive authority including the authority:

                              x       to take complete custody, control, and possession of any and all
                                      Receivership Property (See Receivership Order, ¶ 5(b));

                              x       To manage, control, operate, and maintain the Receivership Property and
                                      hold in his possession, custody, and control all Receivership Property,
                                      pending further Order of this Court (See Receivership Order, ¶ 5(c));

                              x       To use Receivership Property for the benefit of the Receivership Estate (See
                                      Receivership Order, ¶ 5(d));

                              x       To take any action in relation to any Receivership Property which, prior to
                                      the entry of this Order, could have been taken by the Defendant Smerling
                                      (See Receivership Order, ¶ 5(e));

                              x       To take such other action as may be approved by this Court (See
                                      Receivership Order, ¶ 5(k)); and

                              x       To deposit all cash proceeds of Receivership Property, into the account
                                      being held by the Receiver (See Receivership Order, ¶ 19).

                      The Loan Documents

                      16.     Canes Twenty Two, LLC is an Additional Entity pursuant to the Receivership

             Consolidation/Expansion Order.

                      17.     Through the entity Canes Twenty Two, LLC, Defendant Smerling loaned WCA—

             which is owned by his childhood friend, Kranitz—$500,000.


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                      18.     The transaction was memorialized through various documents as described below.

                      19.     The Senior Secured Balloon Promissory Note dated November 19, 2019 (the

             “Note”) between Canes Twenty Two (the “Lender”) and WCA was for $500,000 due in one final

             balloon payment on November 1, 2026. A true and correct copy of the Note is attached and

             incorporated herein as Exhibit “3”.

                      20.     In the Pledge Agreement dated April 21, 2020 (the “Pledge”), Kranitz pledged One

             Hundred (100) shares in WCA in connection with the Note. A true and copy of the Pledge is

             attached and incorporated herein as Exhibit “4”.

                      21.     The Side Letter Agreement dated April 21, 2020 (the “SLA”) (together with the

             Note and the Pledge, the “Loan Documents”) between the Lender on one side and WCA and

             Kranitz on the other, memorialized certain conditions and obligations pertaining to the Note and

             the Pledge. A true and correct copy of the SLA is attached and incorporated herein as Exhibit “5”.

                      The Default and Proposed Settlement Agreement

                      22.     On June 13, 2022, the Receiver issued a Notice of Default to the Debtors.

                      23.     On June 17, 2022, the Debtors objected to the Notice of Default.

                      24.     Now, in lieu of further litigation, the Receiver and the Debtors have reached a

             proposed resolution as addressed in the Settlement Agreement and Mutual Release (the

             “Agreement”).

                      The Requested Relief Should be Granted

                      25.     Commensurate with the broad and extensive authority given to the Receiver under

             the Receivership Order, the Receiver files the Motion seeking approval of the Agreement.




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                      26.      More specifically, the Agreement furthers the Receiver’s duty to act in a judicious

             and expedited manner to identify, preserve, and collect Receivership Property. (See Receivership

             Order, ¶ 5(b)).

                      27.      Furthermore, all parties in interest concur that the resolution provided for in the

             Agreement between the Receiver and the Debtors is in the best interest of the Receivership Estate.

                      28.      Accordingly, the Receiver now seeks entry of a proposed order, substantially in the

             form of the proposed order attached hereto as Exhibit “1”.

                      Conclusion

                      29.      Counsel for each of Citizens Bank and SVB has approved the terms of the

             Agreement as identified in Exhibit “2” and has advised undersigned counsel for the Receiver that

             their respective clients affirmatively support the relief requested in the Unopposed Motion.

                      I declare under penalty of perjury that the foregoing is true and correct.

                      Executed on July 22, 2022.

                                                                    _____________________________
                                                                    Marianne Curtis




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                          EXHIBIT 1
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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK




    IN RE SMERLING LITIGATION,                                     21 Civ. 2552 (JPC)




                  [PROPOSED] ORDER GRANTING UNOPPOSED MOTION
             TO APPROVE SETTLEMENT AGREEMENT AND MUTUAL RELEASE

         THIS MATTER is before the Court upon the Unopposed Motion to Approve Settlement

Agreement and Mutual Release (the “Unopposed Motion”)1 (Consolidated Action, ECF No. ___)

of James S. Feltman, solely in his capacity as the receiver (the “Receiver”) appointed pursuant to

that certain (a) Order Appointing Receiver, dated May 14, 2021 (Case No. 1:21-cv-05766-JPC,

ECF No. 28) (the “Receivership Order”) and (b) Order Granting Joint Motion to (I) Consolidate

SVB Action and Citizens Bank Action Into a Single Action, (II) Appoint James Feltman as Receiver

in Consolidated Action, and (III) Grant Unopposed Receivership Expansion Motion, dated July

19, 2021 (Case No. 1:21-cv-02552-JPC, ECF No. 98) (the “Receivership Consolidation/Expansion

Order” and together with the Receivership Order, collectively, the “Orders”), seeking entry of an

order (i) approving the terms of the Settlement Agreement and Mutual Release (the “Agreement”)

attached to the Declaration (defined herein) as Exhibit “2”; and (ii) granting the Receiver such

other and further relief as the Court deems just and proper; and




1
     Unless otherwise defined herein, capitalized terms used herein shall have the meanings ascribed to them in the
     Unopposed Motion.
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         WHEREAS the Court finds, based on the record in this Consolidated Action, including the

Declaration of Marianne Curtis in Support of the Unopposed Motion to Approve Settlement

Agreement and Mutual Release (Consolidated Action, ECF No. ___) (the “Declaration”), that it is

appropriate to grant the relief requested in the Unopposed Motion; and

         WHEREAS, the terms of the Agreement are fair and reasonable under the circumstances,

were negotiated in good faith and at arm’s length, reflect the Receiver’s exercise of prudent

business judgment consistent with his fiduciary duties, and, where applicable, are supported by

reasonably equivalent value and fair consideration; and

         WHEREAS, the Receiver has shown good cause for the entry of this Order and the Court

concludes that entry of this Order is necessary to preserve and maximize the value of the

Receivership Property in the best interests of the creditors of the Receivership Estate; and

         WHEREAS, the Receiver has provided adequate and sufficient notice of the Unopposed

Motion by providing written notice to creditors and interested parties identified on the Receiver’s

declaration of service filed in conjunction of the Unopposed Motion, and therefore, such notice is

appropriate, adequate, and proper under the circumstances involved in this case.

         IT IS ACCORDINGLY HEREBY:

         ORDERED that the Unopposed Motion is granted subject to the terms and conditions set

forth in this Order, and any objections that have not previously been withdrawn are hereby

overruled; and it is further

         ORDERED, that the terms of the Agreement are approved in their entirety; and it is further

         ORDERED that the Court shall retain jurisdiction to enforce the terms and conditions of

the Agreement; and it is further




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          ORDERED that, within ten (10) days following the entry of this Order, the Receiver shall

serve a copy of this Order upon the Florida Defendants and the New York Defendants by service,

via Federal Express, electronic mail or any other mechanism reasonably designed to successfully

effect service, as follows:

          (a)    Upon Mr. Smerling through his counsel who has appeared in the Consolidated

Action;

          (b)    Upon JES Global Capital GP III, LLC, directed to its registered agent in Delaware;

and

          (c)    Upon JES Global Capital II, L.P. and JES Global Capital GP II, LLC, directed to

the Secretary of State for the State of Florida as neither entity currently has a registered agent in

Florida.

Dated: July ___, 2022
       New York, New York


                                                      _______________________________
                                                      John P. Cronan, U.S.D.J.




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                           EXHIBIT 2
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                         IN THE UNITED STATES DISTRICT COURT FOR
                         THE SOUTHERN DISTRICT OF NEW YORK




                                                                  21 Civ. 2552 (JPC)

IN RE SMERLING LITIGATION




                  SETTLEMENT AGREEMENT AND MUTUAL RELEASE

           This Settlement Agreement and Mutual Release (the “Agreement”), dated as of July
_____, 2022, by and among:
22

(i)      James S. Feltman, not in his individual capacity but solely in his capacity as the receiver
         (the “Receiver”) pursuant to that certain Order Appointing Receiver, dated May 14, 2021
         (Case No. 1:21-cv-05766-JPC, ECF No. 28) (the “Receivership Order”) and that certain
         Order Granting Joint Motion to (I) Consolidate SVB Action and Citizens Bank Action Into
         a Single Action, (II) Appoint James Feltman as Receiver in Consolidated Action, and (III)
         Grant Unopposed Receivership Expansion Motion, dated July 19, 2021 (Case No. 1:21-
         cv-02552-JPC, ECF No. 98) (the “Receivership Consolidation/Expansion Order” and
         together with the Receivership Order, collectively, the “Orders”); and

(ii)     World Class Auto Repair, LLC (“WCA”) and Jeffrey A. Kranitz (“Kranitz”), in his
         individual capacity (collectively, the “Debtors”).

The Receiver and the Debtors are collectively referred to herein as “Parties” and each a “Party”.

                                            RECITALS

       A.     The Senior Secured Balloon Promissory Note dated November 19, 2019 (the
“Note”) between Canes Twenty Two (the “Lender”) and WCA was for $500,000 due in one final
balloon payment on November 1, 2026. A true and correct copy of the Note is attached and
incorporated hereto as Exhibit “A”.




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       B.      In the Pledge Agreement dated April 21, 2020 (the “Pledge”), Kranitz pledged One
Hundred (100) shares in WCA in connection with the Note. A true and copy of the Pledge is
attached and incorporated hereto as Exhibit “B”.

       C.      The Side Letter Agreement dated April 21, 2020 (the “SLA”) (together with the
Note and the Pledge, the “Loan Documents”) between the Lender on one side and WCA and
Kranitz on the other, memorialized certain conditions and obligations pertaining to the Note and
the Pledge. A true and correct copy of the SLA is attached and incorporated hereto as Exhibit
“C”.

        D.    Pursuant to the Orders, the Receiver assumes the position of the Lender with respect
to the Loan Documents.

       E.      On June 13, 2022, the Receiver issued a Notice of Default to the Debtors. Debtors
objected to the Notice of Default issued by the Receiver.

         NOW, THEREFORE, in consideration of the foregoing Recitals (which are incorporated
herein by reference), the promises set forth herein, and other good and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, and in order to avoid unnecessary
litigation and expense, the Parties hereto, intending to be legally bound hereby, agree as follows:

                1.     Payment by the Debtors to the Receiver: Subject to the occurrence of the
Effective Date (defined below), the Debtors shall pay the Receiver THREE HUNDRED AND
TWENTY-FIVE THOUSAND ($325,000.00) in cash by wire transfer within thirty (30) business
days after the Effective Date (the “Payment Obligation”).

               2.     Satisfaction of Debt: Upon receipt of the Payment Obligation, the Loan
Documents will thereby be satisfied in full. Within 15 days of the receipt of the Payment
Obligation, the Receiver shall file a UCC-3 form terminating the lien against Debtors in the form
of Exhibit “D” attached and incorporated hereto.

               3.      Releases of the Debtors by the Receiver. Upon receipt of the Payment
Obligation, the Receiver, on behalf of Lender, shall forever waive, release, and discharge each of
the Debtors and each of the Debtors’ predecessors, successors, assignors or assignees, heirs,
executors, administrators, parents, subsidiaries, affiliates, present or former partners, directors,
officers, employees, agents, attorneys, and direct or indirect shareholders, and its and their
respective parents, subsidiaries, affiliates, present or former partners, directors, officers,
employees, agents, attorneys, and direct or indirect shareholders, of and from any and all manner
of actions, causes of action, suits, obligations, debts, liabilities, sums of money, accounts,
reckonings, bonds, bills, covenants, contracts, controversies, agreements, promises, variances,
trespasses, judgments, executions, claims and demands whatsoever, whether in law or in equity,
whether known, unknown, or hereafter becoming known, whether suspected or unsuspected or by
reason of any matter, cause, or thing, including, without limitation, any claim arising under the
Loan Documents or the Land Rover (VIN No. SALAK2V66GA792286); provided, however, that
nothing herein shall be deemed or construed as a waiver of any rights or claims based on any
alleged breach of this Agreement.


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                4.      Releases of the Receiver by the Debtors. Upon receipt of the Payment
Obligation, the Debtors each forever waive, release, and discharge the Receiver, Lender and each
of their predecessors, successors, assignors or assignees, heirs, executors, administrators, parents,
subsidiaries, affiliates, present or former directors, officers, employees, agents, attorneys, and
direct or indirect shareholders, and their respective parents, subsidiaries, affiliates, present or
former directors, officers, employees, agents, attorneys, and direct or indirect shareholders, of and
from any and all manner of actions, causes of action, suits, obligations, debts, liabilities, sums of
money, accounts, reckonings, bonds, bills, covenants, contracts, controversies, agreements,
promises, variances, trespasses, judgments, executions, claims and demands whatsoever, whether
in law or in equity, whether known, unknown, or hereafter becoming known, whether suspected
or unsuspected or by reason of any matter, cause, or thing, including, without limitation, any claim
arising under the Loan Documents or the Land Rover (VIN No. SALAK2V66GA792286);
provided, however, that nothing herein shall be deemed or construed as a waiver of any rights or
claims based on any alleged breach of this Agreement.

                5.      Court Approval: The Receiver will file a motion (the “Motion”) with the
above-captioned Court (the “Court”) seeking the entry of an order in form and substance
reasonably satisfactory to each of the Parties to this Agreement approving this Agreement (the
“Approval Order”). The Debtors and the Receiver agree to cooperate with each other and use their
collective best efforts to obtain approval of the Motion and entry of the Approval Order. If any
objection to the Approval Order is filed, the Debtors and the Receiver shall oppose any such
objection and shall take all reasonable steps to ensure that the Approval Order becomes a final
order.

                 6.      Effective Date. The effective date of this Agreement (the “Effective Date”)
shall be the first business day after the Approval Order becomes a final order. For purposes of this
Agreement, a “final order” means an order of the Court as to which the time to file an appeal or a
further appeal, any motion for rehearing or reconsideration, or a petition for writ of certiorari has
expired and no such appeal, motion, or petition is pending, or if such appeal, motion or petition
has been filed, as to which such appeal, motion or petition has been fully and finally resolved and
there has been no order or judgment entered reversing, vacating, annulling or modifying the order.

                7.      Tolling of Statute of Limitations. In the event of an appeal of the Approval
Order as between the Parties, all applicable statutes of limitations shall be tolled until sixty (60)
days after the resolution of such appellate proceedings.

                8.     Non-Admission. Nothing herein is or shall be deemed, construed or offered
as an admission, evidence or concession by any of the Parties in respect of any claims or defenses,
including, without limitation, any claims referenced in this Agreement. This Agreement shall be
subject to the provisions of Rule 408 of the Federal Rules of Evidence and shall not be admissible
for any reason or purpose should the Effective Date not occur.

                9.     Representations. The Parties each acknowledge that this Agreement is
solely for the purpose of resolving the Parties’ differences, and that none of the Parties, in settling
these differences, admits liability for or otherwise makes any representations concerning the merits
of the claims and defenses asserted, or which could have been asserted, by any of the other Parties.
Each of the Parties hereto specifically denies any such liability and further agrees that neither this

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Agreement nor any of the statements contained herein, may be used as evidence by any party or
by any third party against another party hereto in any proceeding of any sort, except in a proceeding
brought among the Parties, or any of them, to enforce any term of this Agreement.

                10.     Successors and Assigns. This Agreement shall be binding upon and inure
to the benefit of the Parties and their respective successors and assigns.

               11.    No Assignment or Transfer. The Parties represent and warrant that they
have not assigned nor in any way transferred all or any portion of any claims described herein or
authorized any other person or entity to assert any such claims or rights on its behalf.

               12.     No Third-Party Beneficiaries. Except as expressly provided in this
Agreement, no persons or entities who are not specifically identified in this Agreement as having
rights hereunder (which identification may be by name or title or description, in any such capacity),
shall have any right to seek to enforce or interpret this Agreement or obtain any rights or benefits
hereunder.

               13.     Advice of Counsel. Each of the Parties, by the execution of this Agreement,
represents that such Party has reviewed each and every term of this Agreement with their legal
counsel and that, hereafter, they shall not deny the validity of this Agreement on the ground that
they did not have the advice of counsel.

               14.     Legal Fees. Each Party shall be responsible for their own attorneys’ fees
and costs in connection with this Agreement. In the event that any Party hereto fails or refuses to
perform any of the terms or conditions of this Agreement or otherwise breaches any of the
provisions hereof, then in that event, either party may seek to enforce this Agreement by motion
to the Court and the prevailing Party on such motion to enforce settlement shall be entitled to have
and recover from the other Party reasonable attorney's fees and court costs incurred by that Party
as determined by the court.

               15.    Entire Agreement. This Agreement constitutes the entire agreement among
the Parties concerning the matters set forth herein and supersedes any and all prior agreements
between them concerning the matters set forth herein.

               16.     Headings. The headings in this Agreement are for purposes of reference
only and shall not limit or otherwise affect the meaning of this Agreement.

                 17.    Savings Clause. If any one or more of the provisions contained in this
Agreement shall be invalid, illegal, or unenforceable in any respect under any applicable law, the
validity, legality and enforceability of the remaining provisions contained herein shall not in any
way be affected or impaired.

                18.     Jurisdiction; Choice of Law. Each of the Parties hereto irrevocably consents
to the exclusive jurisdiction of the Court with respect to any action to interpret or enforce the terms
and provisions of this Agreement. This Agreement shall be governed by, construed and enforced
in accordance with the laws of the State of Florida, without regard to its conflict of laws provisions.



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                19.     Amendments. This Agreement may be amended, modified, superseded,
cancelled, and the terms and conditions of this Agreement may be waived, only by a written
instrument signed by all the Parties, or in the case of a waiver, by the Party waiving compliance,
and subject, to the extent required, to the approval of the Court.

                 20.    Notices. All notices and communications required or permitted by this
Agreement shall be made in writing, signed by the Party making the same and shall be deemed
given or made (i) on the date delivered if delivered by e-mail, telecopy or other standard form of
written telecommunication and confirmed by receipt of electronic confirmation or other evidence
of receipt, (ii) on the date delivered, if delivered in person, (c) on the third business day after
mailing by registered or certified mail (return receipt requested) (with postage and other fees
prepaid) or (d) on the day after it is delivered, prepaid, by any overnight express delivery service
that confirms to the sender delivery on such day, as follows:

                       If to the Receiver:

                       James S. Feltman
                       15280 Northwest 79th Court Suite 100
                       Miami, Florida 33016
                       Email: James.Feltman@Kroll.com

                       with a copy to (which shall not constitute notice):

                       Berger Singerman LLP
                       1450 Brickell Avenue, Suite 1900
                       Miami, Florida 33131
                       Attn:    Paul Steven Singerman, Esq.
                                Marianne Curtis, Esq.
                       Email: singerman@bergersingerman.com
                                mcurtis@bergersingerman.com

                       If to Debtors:

                       World Class Auto Repair Center, LLC
                       9789 Glades Road
                       Boca Raton, Florida
                       33434
                       Attn: Jeffrey Kranitz

                       with a copy to (which shall not constitute notice):

                       Di Pietro Partners
                       901 E Las Olas Blvd, Suite 202
                       Fort Lauderdale, Florida
                       33301
                       Attn:    Nicole Martell, Esq.
                       Email: Nicole@ddpalaw.com

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               21.     Execution in Counterparts. This Agreement may be executed in
counterparts, all of which shall be considered one and the same agreement. The Parties agree that
facsimile and pdf signatures shall be considered for these purposes as original signatures.



                                            PARTIES:

                                            JAMES S. FELTMAN


                                     By:    _________________________
                                            James S. Feltman
                                            In his capacity as Receiver Appointed in the United
                                            States District Court in the Southern District of New
                                            York


                                            WORLD CLASS AUTO REPAIR, LLC


                                     By:    _________________________
                                            Jeffrey A. Kranitz
                                            Owner / Principal



                                            JEFFREY A. KRANITZ


                                     By:    _________________________
                                            Jeffrey A. Kranitz




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                          EXHIBIT D
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STATE OF FLORIDA UNIFORM COMMERCIAL CODE
FINANCING STATEMENT AMENDMENT FORM
A. NAME & DAYTIME PHONE NUMBER OF CONTACT PERSON
Marianne Curtis, Esq. 305-755-9500
Email Address
B. SEND ACKNOWLEDGEMENT TO:
Name Berger Singerman LLP

Address 1450 Brickell Avenue

Address Suite 1900

City/State/Zip Miami, FL 33131                                                                          THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

1a. INITIAL FINANCING STATEMENT FILE #                                                  1b.         This FINANCING STATEMENT AMENDMENT is to be filed
202001558811                                                                                        [for record] (or recorded) in the REAL ESTATE RECORDS.

2. CURRENT RECORD INFORMATION – DEBTOR NAME – INSERT ONLY ONE DEBTOR NAME (2a OR 2b)
 2a. ORGANIZATION’S NAME
 WORLD CLASS AUTO REPAIR CENTER, INC. f/k/a WORLD CLASS AUTO REPAIR CENTER, LLC
 2b. INDIVIDUAL’S SURNAME                             FIRST PERSONAL NAME                                            ADDITIONAL NAME(S)/INITIAL(S)                SUFFIX

3. CURRENT RECORD INFORMATION – SECURED PARTY NAME – INSERT ONLY ONE SECURED PARTY NAME (3a OR 3b)
3a. ORGANIZATION’S NAME
CANES TWENTY TWO, LLC
3b. INDIVIDUAL’S SURNAME                                                   FIRST PERSONAL NAME                       ADDITIONAL NAME(S)/INITIAL(S)                SUFFIX

4. ■       TERMINATION: Effectiveness of the Financing Statement identified above is terminated with respect to security interest(s) of the Secured Party
           authorizing this Termination Statement.

5.         CONTINUATION: Effectiveness of the Financing Statement identified above with respect to security interest(s) of the Secured Party authorizing
           this Continuation Statement is continued for the additional period provided by applicable law.

6.         ASSIGNMENT               Full or      Partial: Give name of assignee in item 9a or 9b and address of assignee in item 9c; and also give name of assignor in item 11.


7.         AMENDMENT (PARTY INFORMATION): This Amendment affects                            Debtor or         Secured Party of record. Check only one of these two boxes.

Also check one of the following three boxes and provide appropriate information in items 8 and/or 9.
          CHANGE name and/or address: Give current record name in item 8a or 8b;           DELETE name: Give record name                 ADD name: Complete item 9a or 9b,
         Also give new name (if name change) in item 9a or 9b and/or new address           to be deleted in item 8a or 8b.               and 9c.
         (if address change) in item 9c.

8. CURRENT RECORD INFORMATION – INSERT ONLY ONE NAME (8a OR 8b) – Do Not Abbreviate or Combine Names
 8a. ORGANIZATION’S NAME

 8b. INDIVIDUAL’S SURNAME                                                FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)                SUFFIX

9. CHANGED (NEW) OR ADDED INFORMATION: – INSERT ONLY ONE NAME (9a OR 9b) – Do Not Abbreviate or Combine Names
 9.a ORGANIZATION’S NAME

 9.b INDIVIDUAL’S SURNAME                                                FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)                SUFFIX

 9.c MAILING ADDRESS Line One
                                                                                                                  This space not available.

     MAILING ADDRESS       Line Two                                      CITY                                                    STATE        POSTAL CODE          COUNTRY

10. AMENDMENT (COLLATERAL CHANGE): check only one box.
Describe collateral   DELETE or          ADD, or give entire        RESTATE collateral description, or describe collateral                      ASSIGN collateral




11. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT (name of assignor, if this is an Assignment). If this is an Amendment
authorized by a Debtor, which adds collateral or adds the authorizing Debtor, or if this is a Termination authorized by a Debtor, check here and enter name of DEBTOR
authorizing this Amendment.
 11a. ORGANIZATION’S NAME
  CANES TWENTY TWO, LLC
 11b. INDIVIDUAL’S SURNAME                                               FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)        SUFFIX


12. OPTIONAL FILER REFERENCE DATA Florida Secured Transaction Registry

STANDARD FORM - FORM UCC-3 (REV.05/2013)                                    Filing Office Copy                           Approved by the Secretary of State, State of Florida
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